 

Case 6:17-cv-00560-JA-T_S Document 19 Filed 08/15/17 Page 1 of 1 PagelD 80

UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

IBET TOLTOWICZ,
Plaintiff,

Vv. Case No: 6:17-cv-560-Orl-28TBS
LTD FINANCIAL SERVICES, L.P.,

Defendant.

 

ORDER OF DISMISSAL

The Court has been advised by the Plaintiff that the above-styled action has been
completely settled. (Notice of Settlement, Doc. 18).

Accordingly, pursuant to Local Rule 3.08(b) of the Middle District of Florida, it is
ORDERED and ADJUDGED that this case is hereby DISMISSED subject to the right of
any party, within sixty days from the date of this Order, to move the Court for entry of a
stipulated form of final order or judgment, or, on good cause shown, to reopen the case for

further proceedings. The Clerk is directed to close this file.

   
 

DONE and ORDERED in Orlando, Florida-

JOHN ANTOON II
United States District Judge

Copies furnished to:
Counsel of Record

 
